  Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 1 of 34 PAGEID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                  COLUMBUS DIVISION

JACOB SMITH                             )   Case No. 2:20-cv-3755
9503 Chesapeake Drive                   )
North Royalton, OH 44133                )
                                        )   CLASS ACTION COMPLAINT
            Plaintiff,                  )
                                        )
      v.                                )
                                        )
FIRSTENERGY CORP.                       )
c/o Agent: CT Corporation System        )
4400 Easton Commons Way                 )
Suite 125                               )
Columbus, OH 43219                      )
                                        )
AND                                     )
                                        )
FIRSTENERGY SERVICE                     )
COMPANY                                 )
c/o Agent: CT Corporation System        )
4400 Easton Commons Way                 )
Suite 125                               )
Columbus, OH 43219                      )
                                        )
            Defendants.                 )
                                        )

       Plaintiff, Jacob Smith, individually and on behalf of a proposed class of all others

similarly situated, submits this Complaint against Defendants, FirstEnergy Corp., a

public utility holding company, and FirstEnergy Service Company, a subsidiary of

FirstEnergy Corp. which provides legal, financial, and other corporate support to obtain

money damages and injunctive relief or other appropriate relief against the Defendants

for systematically violating and knowingly and intentionally conspiring with Larry

Householder, Jeffrey Longstreth, Neil Clark, Matthew Borges, Juan Cespedes, and
  Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 2 of 34 PAGEID #: 2




Generation Now, and others known and unknown, being persons employed by and

associated with an enterprise, which engaged in, and the activities of which affected

interstate commerce, and did knowingly and intentionally conspire with each other and

others known and unknown to violate Title 18 United States Code, Section 1962(c), (d),

that is, to conduct and participate directly and indirectly, in the conduct of the affairs of

the enterprise through a pattern of racketeering activity, as that term is defined in 18

U.S.C. §§ 1961(1) and 1961(5), consisting of multiple wrongful acts under 18 U.S.C. §§

1343, 1346 (relating to honest services wire fraud); 18 U.S.C. § 1951 (relating to

interference with commerce, robbery, or extortion) 18 U.S.C. § 1952 (relating to

racketeering, including multiple acts of bribery under Ohio Revised Code §

3517.22(a)(2)); 18 U.S.C. § 1956 (relating to the laundering of monetary instruments);

18 U.S.C. § 1957 (relating to engaging in monetary transactions in property derived

from specified unlawful activity); and multiple acts involving bribery, chargeable under

Ohio Revised Code §2921.02. It was part of the conspiracy that these Defendants,

FirstEnergy Corp. and FirstEnergy Service Company, agreed that a conspirator would

commit at least two acts of racketeering activity in the conduct of the affairs of the

enterprise, all in violation of 18 U.S.C. §1962(c), (d). Plaintiff further states as follows:

                                       THE PARTIES

       1.     Plaintiff, Jacob Smith, is a legal resident of the State of Ohio and resides

in Lorain County, who has been damaged by Defendants by his payment of monthly

surcharges as set forth in House Bill 6 (hereinafter “HB 6”) which provided massive

customer/ratepayer subsidies for Defendants’ Davis-Besse and Perry Nuclear Power




                                               2
  Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 3 of 34 PAGEID #: 3




Plants. Plaintiff owns the home with his wife in whose name service is placed. Plaintiff

pays the electric bill and therefore is the party with damages.

       2.     Defendant, FirstEnergy Corp., is a public utility holding company which

directs and controls various subsidiary entities organized under the laws of the State of

Ohio with its principal place of business located in Akron, Ohio. FirstEnergy Corp. is

involved in the generation, transmission, and distribution of electricity. This Defendant’s

agent is CT Corporation System, 4400 Easton Commons Way, Suite 125, Columbus,

Ohio 43219.

       3.     Defendant, FirstEnergy Service Company, is organized under the laws of

the State of Ohio with its principal place of business located in Akron, Ohio and provides

legal, financial, and other corporate support services to affiliated companies. It is under

the control of FirstEnergy Corp.’s management. It does not have its own CEO or Board

of Directors. This Defendant’s agent is CT Corporation System, 4400 Easton Commons

Way, Suite 125, Columbus, Ohio 43219.

                              JURISDICTION AND VENUE

       4.     This Court has jurisdiction over Plaintiff’s federal claims pursuant to 28

U.S.C. § 1331, and 18 U.S.C. §§ 1961-68. Declaratory relief is available pursuant to 28

U.S.C. §§ 2201 and 2202. Venue is proper in this Court in that this is a judicial district

in which a substantial part of the events giving rise to the claim occurred. 28 U.S.C. §

1391(b)(2).   Venue is further proper in that this is a judicial district in which the

Defendants agent, CT Corporation System, 4400 Easton Commons Way, Suite 125,

Columbus, Ohio 43219, is found or transacts affairs. 18 U.S.C. §1965(a).




                                             3
  Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 4 of 34 PAGEID #: 4




                         GENERAL STATEMENT OF THE LAW

       5.     Title 18, United States Code, Section 1962(c) and (d) provides as follows:

              (c)     It shall be unlawful for any person employed by or
              associated with any enterprise engaged in, or the activities which
              affect, interstate or foreign commerce, to conduct or participate,
              directly or indirectly, in the conduct of such enterprise's affairs
              through a pattern of racketeering activity . . .

              (d)    It shall be unlawful for any person to conspire to violate any
              of the provisions of subsection . . . . (c) of this section.

       Section 1961 in turn, defines the terms “enterprise” and “pattern of racketeering

activity” as used in Section 1962 as follows:

              (4)    “enterprise” includes any individual, partnership, corporation,
              association, or other legal entity, and any union or group of
              individuals associated in fact although not a legal entity;

              (5)    “pattern of racketeering activity” requires at least two acts of
              racketeering activity, one of which occurred after the effective date
              of this chapter and the last of which occurred within ten years
              (excluding any term of imprisonment) after the commission of a
              prior act of racketeering activity.

Section 1961(1) defines “racketeering activity”, in relevant part, as follows:

              (A) [A]ny act or threat involving . . . bribery[,] . . . which is
                 chargeable under State law and punishable by imprisonment for
                 more than one year; (B) any act which is indictable under . . .
                 title 18, United States Code: . . . section 1343 (relating to wire
                 fraud) . . . section 1951 (relating to interference with commerce,
                 robbery, or extortion), section 1952 (relating to racketeering) . . .
                 section 1956 (relating to the laundering of monetary
                 instruments), section 1957 (relating to engaging in monetary
                 transactions in property derived from specified unlawful activity)
                 ....

       6.     On or about July 21, 2020, a criminal Complaint was filed by the United

States of America against Larry Householder, Jeffrey Longstreth, Neil Clark, Matthew

Borges, Juan Cespedes, and Generation Now in the United States District Court for the



                                             4
  Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 5 of 34 PAGEID #: 5




Southern District of Ohio, Case No. 1:20-mj-00525, alleging defendants violated 18

U.S.C. §1962(d), conspiracy to participate, directly or indirectly, in the conduct of an

enterprises affairs through a pattern of racketeering activity. The criminal Complaint

was supported by an 81 page Affidavit (Affidavit, Doc #5, PageID# 91-172). Based

upon information and belief, Plaintiff states that Defendant, FirstEnergy Corp., is

Company A Corp. in the Affidavit.         Defendant, FirstEnergy Service Company, is

Company A Service Co. in the Affidavit.

                              FACTUAL ALLEGATIONS

      7.     Plaintiff incorporates by reference those factual allegations set forth in the

Affidavit attached to the criminal Complaint in Case No. 1:20-mj-00525, in the United

States District Court for the Southern District of Ohio (Doc #5, PageID# 91-172).

      8.     From March 2017 to March 2020, the Householder Enterprise, as

described and defined in the Affidavit and herein, received approximately $60 million

from Defendants paid through Generation Now and controlled by Householder and the

Enterprise. In exchange for payments from Defendants, the Householder Enterprise

helped pass HB 6, legislation, described by an Enterprise member as a billion-dollar

“bailout” that saved from closure two failing nuclear power plants in Ohio affiliated with

Defendants. The Enterprise then worked to corruptly ensure that HB 6 went into effect

by defeating a ballot initiative. To achieve these ends, and to conceal the scheme, the

Householder Enterprise passed money received from Defendants through multiple

entities that it controlled. The Householder Enterprise then used these bribe payments

to further the goals of the Enterprise, which include: (1) obtaining, preserving, and

expanding Householder’s political power in the State of Ohio through the receipt and



                                            5
  Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 6 of 34 PAGEID #: 6




use of secret payments; (2) enriching and benefitting the enterprise, its members, and

associates; and, (3) promoting, concealing, and protecting purposes (1) and (2) from

public exposure and possible criminal prosecution.

                                       BACKGROUND

       9.     In 2016, FirstEnergy Corp.’s nuclear generation future looked grim. In its

November 2016 Annual Report to Shareholders, FirstEnergy Corp. and its affiliates

reported a weak energy market, poor forecast demands, and hundreds of millions of

dollars in losses, particularly from its nuclear energy affiliate.   Given this backdrop,

FirstEnergy Corp. announced future options for its generation portfolio as follows:

“legislative and regulatory solutions for generation assets”; asset sales and plant

deactivations; restructuring debt; and/or seeking protection under U.S. bankruptcy laws

for its affiliates involved in nuclear generation.

       10.    Consistent with this forecast, FirstEnergy Corp. actively sought a

“legislative solution” for its two, affiliated nuclear power plants in Ohio. For example,

during FirstEnergy’s fourth-quarter 2016 earnings conference call, its President and

CEO stated:

              In Ohio, we have had meaningful dialogue with our fellow utilities
              and with legislators on solutions that can help ensure Ohio’s future
              energy security. Our top priority is the preservation of our two
              nuclear plants in the state and legislation for a zero emission
              nuclear program is expected to be introduced soon. The ZEN
              program is intended to give state lawmakers greater control and
              flexibility to preserve valuable nuclear generation. We believe this
              legislation would preserve not only zero emission assets but jobs,
              economic growth, fuel diversity, price stability, and reliability and
              grid security for the region.

              We are advocating for Ohio’s support for its two nuclear plants,
              even though the likely outcome is that FirstEnergy won’t be the
              long-term owner of these assets. We are optimistic, given these

                                               6
  Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 7 of 34 PAGEID #: 7




             discussions we have had so far and we will keep you posted as this
             process unfolds.

      11.    However, attempts to obtain a legislative solution had failed to pass,

including the ZEN (Zero-Emissions Nuclear Resource Program) energy proposals

outlined in House Bill 178, Senate Bill 128, and House Bill 381 in 2017.

      12.    While FirstEnergy Corp. was in search of a solution to its nuclear energy

problem, Householder was re-entering politics, winning back his State House seat in

Perry County, Ohio, with the goal of winning back the Speakership in January 2019.

Following his January 2017 trip on FirstEnergy’s private jet, in March 2017,

Householder began receiving quarterly $250,000 payments from FirstEnergy Corp.

and/or FirstEnergy Service Company into a bank account in the name of a 501(c)(4)

entity secretly controlled by Householder called Generation Now. In 2017 and 2018, the

Householder Enterprise received into Generation Now, and the entities it controlled,

over $2.9 million from FirstEnergy Corp. and/or FirstEnergy Service Company.

Members of The Householder Enterprise used these payments for their own personal

benefit and to gain support for Householder’s political bid to become Speaker. In the

spring and fall of 2018, the Enterprise spent millions in Defendants’ money to support

House candidates involved in primary and general elections whom the Enterprise

believed both would vote for Householder as Speaker and, ultimately, would follow his

lead as Speaker and vote for bailout legislation for FirstEnergy Corp.

      13.    Householder-backed candidates that benefitted from Defendants’ money

received by Generation Now (described throughout this Complaint and the Affidavit as

“FirstEnergy-to-Generation Now” payments) helped elect Householder as the Ohio

Speaker of the House in January 2019. And Householder fulfilled his end of the corrupt

                                            7
  Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 8 of 34 PAGEID #: 8




bargain shortly thereafter. Three months into his term as Speaker, HB 6 was introduced

to save from closure FirstEnergy Corp.’s two failing nuclear power plants. Specifically,

HB 6 subsidized nuclear energy operations in Ohio through a monthly charge on all

Ohioan’s energy bills.      Neil Clark described the legislation as a “bailout” for

FirstEnergy’s nuclear assets, worth $1.3 billion to FirstEnergy.

       14.    After the introduction of the bailout legislation, Defendants began

increasing its payments into Generation Now for the benefit of the Enterprise. On April

30, 2019, roughly two weeks after introduction of the legislation, Defendants wired $1.5

million to Generation Now. In the month of May 2019, while the controversial legislation

was pending before lawmakers, Defendants wired four additional payments totaling $8

million. The Enterprise used some of that money for mailers and media advertisements

to pressure members to support the legislation; the Enterprise also used Defendants’

money for their personal benefit, as described herein and in the Affidavit. In the same

month that the Enterprise received $8 million from Defendants, Householder and other

Enterprise members pressured House members to vote for HB 6, and instructed at least

one representative to destroy text messages from Householder after Householder’s

attempt to gain support for HB 6 from the representative.

       15.    On May 29, 2019, HB 6 passed the House, and after Enterprise members

exerted pressure on the Senate, the legislation was passed and was signed into law by

the Governor. That process took about two months. However, the law would not go

into effect until October 22, 2019. Shortly after the Governor signed the legislation, a

campaign began, to organize a statewide ballot-initiative referendum, (“Ballot

Campaign”), to overturn the legislation. This effort required Ballot Campaign organizers



                                            8
  Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 9 of 34 PAGEID #: 9




to collect the signatures of registered voters in order to put the referendum of HB 6 on

the 2020 ballot. And so, Defendants’ and the Enterprise’s fight continued.

       16.    In response, from July 24,2020 to October 22, 2019, accounts controlled

by Defendants wired over $38 million into Generation Now to defeat the ballot initiative

so HB 6 would go into effect. The Enterprise funneled the money to various accounts

and entities controlled by the Enterprise to purchase media ads and mailers against the

ballot initiative, to conflict out signature-collection firms, and to pay off and bribe

signature collectors seeking signatures to support the referendum. The members and

associates of the Enterprise also used the Defendants’ money to enrich themselves and

further their personal interests.

       17.    Defendants paid the Householder Enterprise $60,886,835.86 in secret

payments over the approximately three-year period in exchange for the billion-dollar-

bailout. The Enterprise concealed the payments by using a 501(c)(4) to receive the

bribe money, and then transferring the payments internally to a web of related entities

and accounts.     The millions paid into the entity are akin to bags of cash—unlike

campaign or PAC contributions, they were not regulated, not reported, not subject to

public scrutiny—and the Enterprise freely spent the bribe payments to further the

Enterprise’s political interests and to enrich themselves. As Neil Clark stated in a 2019

recorded conversation, Defendants operated as the Enterprise’s “Bank”—Clark

explained, “Generation Now is the Speaker’s (c)(4)”, and Defendants “deep pockets”,

and the money to the Enterprise through Generation Now was “unlimited”. Matthew

Borges similarly described Defendants’ payments to the Enterprise as “Monopoly

money”.



                                           9
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 10 of 34 PAGEID #: 10




        18.   The Enterprise used some of the Defendants’ money to help enact the

bailout legislation. Additionally, the Enterprise used millions of dollars of Defendants’

bribe money to further Householder’s political ambitions by funding his own campaign,

and the campaigns of members and candidates who would eventually support

Householder’s election for Speaker. Defendants’ payments funded the operating costs

of the Enterprise and paid for Householder’s political and campaign staff.          Larry

Householder, Jeffrey Longstreth, Neil Clark, Matthew Borges, Juan Cespedes, and/or

Generation Now also paid themselves personally millions of dollars in bribe payments,

funneled through Generation Now and other entities controlled by the Enterprise. This

includes allowing for the payment of at least $500,000 in what appears to be personal

benefits to Householder that was passed through Longstreth-controlled accounts. In

addition, the Enterprise had over $8 million of Defendants’ money in their controlled

accounts at the end of 2019, which represents further profit to its Enterprise members.

                                  THE ENTERPRISE

        19.   Larry Householder is the current Speaker of the Ohio House of

Representatives. He previously served as a House member representing Ohio’s 72nd

District from 1997 to 2004, including as Ohio Speaker of the House from 2001 to 2004.

Householder resigned from office after reports of alleged corrupt activity surfaced in the

media and were publically referred to the FBI. He was never charged. Householder

won his House seat back in the fall of 2016. He was elected Speaker again in January

2019, after what the media described as a bitter leadership battle that lasted nearly a

year.




                                           10
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 11 of 34 PAGEID #: 11




       20.    Householder’s path to Speakership was unusual.           Householder and

another House member Representative, both of whom are Republicans, were

candidates to be Speaker of the House of Representatives for the 133rd General

Assembly.    After the then-Speaker’s resignation in May 2018, a protracted conflict

lasting eight weeks began to select a Speaker for the remainder of the 132nd General

Assembly.     Ultimately, the other representatives became Speaker pending the

upcoming 2018 election, after the unprecedented conflict that was resolved using a

House rule that could only be employed after ten failed attempts to select a Speaker.

Despite the other representatives’ selection in mid-2018 for the House Speaker for he

remainder of the 132nd General Assembly, Householder aggressively sought support for

his candidacy for Speaker. He did so in a number of ways, including by providing

financial support, paid for in large part by Defendants, to certain candidates running for

House seats in the spring 2018 primary and the November 2018 general election. In

the end, his strategy was successful, as he won the Speakership despite another

representative serving in that role prior to the 2018 election.

       21.    The Householder Enterprise had several purposes, one of which was to

increase Householder’s political power through corrupt means. In his role, Householder

solicited and accepted payments from Defendants into his 501(c)(4) account; he used

the bribe payments to further his political interest, enrich himself and other members

and associates of the Enterprise, and to assist in passing and preserving the bailout

legislation; and, in return for the benefits received, he coordinated passage of HB 6 and

attempted to influence legislators to support the bailout, among other things.




                                             11
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 12 of 34 PAGEID #: 12




       22.    Householder benefitted personally through the Enterprise. For example,

while funded by Defendants-to-Generation-Now bribe money, at least $300,000 passed

through and funded accounts controlled by Jeff Longstreth, which the Enterprise used to

pay legal fees and settle a lawsuit against Householder.       Over $100,000 of the

Defendants-to-Generation-Now bribe money was passed through Longstreth-controlled

accounts and used to pay costs associated with Householder’s Florida home.           In

addition, at least $97,000 of the Defendants-to-Generation-Now bribe money was used

to pay expenses for Householder’s 2018 Ohio House campaign.

       23.    Jeff Longstreth is Householder’s longtime campaign and political

strategist.   Neil Clark identified Longstreth as Householder’s “political guy”, his

“implementer”, and one of his “closest advisors”, who was instrumental to the

Enterprise’s efforts to pass HB 6.

       24.    Although Longstreth is not employed by the State of Ohio, he has been

Householder’s chief political strategist. He ran Householder’s political campaign, and

he and his staff managed the 2018 campaigns for the Enterprise-backed candidates (at

times internally referred to by the Enterprise as “Team Householder” candidates).

Householder ad Longstreth shared office space, rented from their Political Advertising

Agency. In addition, Longstreth led the messaging efforts both in the campaign to pass

HB 6 and to defeat the referendum, and was a point of contact for Defendants.

       25.    Longstreth also played a critical role with respect to the Enterprise’s

finances. He was a signatory on both of the Generation Now bank accounts and the

person who transfers money out of the accounts to other entities to further the

Enterprise.    Longstreth also controlled entities that receive Defendants-through-



                                          12
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 13 of 34 PAGEID #: 13




Generation Now payments to further the Enterprise. Among these, Longstreth owns

and operates JPL & Associates. Throughout the relevant period, Longstreth transferred

over $10.5 million of Defendants’ bribe payments directly from Generation Now’s

primary bank account to JPL & Associates’ primary bank account.             In addition,

Longstreth received indirectly another $4.4 million, which was transferred from the

Generation Now account through another entity and then into accounts that he

controlled. Longstreth then use Defendants’ payments funneled through Generation

Now to further Householder’s and Defendants’ interests and to pay personal benefits to

members and associates of the Enterprise. Longstreth benefitted personally through

the conspiracy’s actions, receiving over $5 million in Defendants-to-Generation-Now

money during the relevant period, including at least $1 million, which he transferred to

his brokerage account in January 2020.

       26.    Neil Clark owns and operates Grant Street Consultants, an Ohio-based

lobbying firm that focuses on legislative, regulatory, and procurement lobbying at the

Ohio Statehouse. Prior to becoming a lobbyist, Clark served as a budget director for

the Ohio Senate Republic Caucus.        During the relevant period, Clark worked as a

lobbyist for various interest groups.

       27.    Along with Longstreth, Clark is, in his own words, one of Householder’s

“closest advisors”. According to Clark during recorded conversations in 2019, Clark

served as Householder’s “proxy” in the Enterprise’s efforts to further the enactment of

HB 6 an ensure HB 6 went into effect in October 2019 by defeating the subsequent

ballot-initiative challenge. Clark also communicated directly with House members to

further the Enterprise. In 2019, Clark described himself in recorded communications as



                                           13
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 14 of 34 PAGEID #: 14




Householder’s “hit man” who will do the “dirty shit”. Clark stated, “when [Householder’s]

busy, I get complete say. When we’re working on stuff, if he says, ‘I’m busy,’ everyone

knows. Neil has the final say, not Jeff. Jeff is his implementer”. Borges confirmed

Clark’s role, and similarly described Clark as Householder’s “proxy” relating to

Defendants’ matters. Clark benefitted personally from Defendants’ payments to the

Enterprise, receiving at least $290,000 in Defendants-to-Generation-Now money.

      28.    Matthew Borges is a registered lobbyist for a subsidiary of FirstEnergy

Corp. Borges was a key middleman and was at the center of the effort to thwart the

referendum to stop HB 6 from taking effect through a ballot-initiative drive. On August

5, 2019, shortly after the Ballot Campaign was announced, Borges incorporated 17

Consulting Group. Two days later, Borges opened a bank account for 17 Consulting

Group, and that same day Generation Now wired $400,000 into the account. Over the

next few months Generation Now wired a total of $1.62 million into the account.

      29.    Approximately a month after Generation Now began wiring money into

Borges’ 17 Consulting account, Borges paid $15,000 in exchange for inside information

about the Ballot Campaign, which Borges would use to help defeat the Ballot

Campaign.    Bank account records show that the $15,000 paid came from the 17

Consulting Group account, which was funded by Generation Now wires. Borges also

paid Juan Cespedes $600,000 of Generation Now money from his account. With the

money wired from Generation Now, Borges also paid a private investigator during this

period, which, as described below, is consistent with the Enterprise’s strategy of

investigating the signature collectors that worked for the Ballot Campaign.




                                           14
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 15 of 34 PAGEID #: 15




      30.    Borges had contact with Householder in January 2019 and April 2019—

key time-periods, as described below, involving official action by Householder. Borges

benefitted directly from the $1.62 million from Generation Now wires. Specifically, he

paid himself over $350,000 from Defendants-to-Generation-Now proceeds.

      31.    Juan Cespedes served as a key middleman, participating in strategy

meetings and communicating with Enterprise members and associates regarding

strategic decisions. Cespedes is a multi-client lobbyist, whose services were retained

by a subsidiary of FirstEnergy Corp. He was central to this company’s efforts to get the

bailout legislation passed in Ohio. As explained herein and in the Affidavit, a contract

between this company and Cespedes’ lobbying company, the Oxley Group, shows this

company hired Cespedes to pursue the bailout legislation starting in the spring of 2018.

Consistent with this, records show that Cespedes was the “lead consultant” relating to

attempts to pursue legislation would save FirstEnergy’s failing nuclear power plants. In

internal documents, Cespedes tracked “Householder camp” candidates who later

received Defendants-to-Generation-Now money, and he advised that if Householder

becomes Speaker, the nuclear energy bailout “will likely be led from his Chamber”.

      32.    Cespedes received approximately $600,000 from the Enterprise and

$227,000 from Defendants in 2019.         He also was in regular contact with both

Defendants and Enterprise members during the relevant period. As set forth below,

Cespedes and Longstreth communicated regularly through text messages discussing

the coordination of millions of dollars in Defendants’ payments to the Enterprise,

attaining public officials’ support for the bailout, sending media and mailers supporting

the bailout legislation, and hiring signature firms to defeat the ballot campaign, among



                                           15
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 16 of 34 PAGEID #: 16




other things. Cespedes coordinated the timely payment of $15 million from Defendants

to Generation Now.

       33.    Generation Now, Inc. received approximately $60 million from Defendants

and/or their entities during the relevant period.       As set forth more fully below,

Generation Now registered with the IRS as a 501(c)(4), which is an IRS designation for

a tax-exempt, social welfare organization. Pursuant to federal law, the names and

addresses of contributors to 501(c)(4)s are not made available for public inspection.

The Enterprise concealed the bribery scheme by funneling the money through

Generation Now, which hid the payments and the scheme from public scrutiny.

Generation Now’s accounts had a combined balance of approximately $1.67 million as

of January 1, 2020, money that is a direct benefit to the Enterprise. As described herein

below and in the Affidavit, after making wire transfers to Coalition in early 2020, the

Generation Now accounts were replenished by a $2 million wire from Energy Pass-

Through (a non-profit 501(c)(4) that was incorporated in Ohio on February 28, 2017, two

days after Generation Now was incorporated in Delaware) in March 2020, bringing the

combined balance of the accounts to approximately $2.9 million, again, money that is a

direct benefit to the Enterprise.

              RELATED ENTITIES CONTROLLED BY THE ENTERPRISE

       34.    The Enterprise used and relied on a number of different entities to

further the conspiracy. The following entities were controlled by, worked directly

with, or funneled payments for the benefit of the Enterprise:

            a.     JPL & Associates LLC is controlled by Longstreth. Longstreth is
the signor on five different bank accounts that have received money directly from
Generation Now, including two JPL business accounts, one personal account, and two
accounts named “Constant Content”. Numerous internal money transfers to Generation

                                            16
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 17 of 34 PAGEID #: 17




Now money were made among Longstreth-controlled accounts. In total, JPL’s main
business account received over $10.5 million in Defendants-to-Generation-Now wires
during the relevant period, which Longstreth then transferred internally to his other
accounts. Longstreth also received indirectly $4.4 million, which had been funneled
from Generation Now, through another entity (“Front Company”, discussed below) and
into Longstreth’s Constant Content accounts. Analysis of the accounts by the Federal
Bureau of Investigation shows that the money was used to pay benefits directly to
Enterprise members and to further the Enterprise’s interests by paying campaign staff
for preferred Householder candidates, among other things. After the ballot initiative
campaign failed and HB 6 became law for the benefit of FirstEnergy, Longstreth
consolidated most of the Enterprise funding into JPL-controlled accounts. As of
January 1, 2020 that total balances within JPL-controlled accounts exceeded $6.5
Million. This money is a direct benefit to the Enterprise.

          b.          “PAC” is a federal PAC through which Generation Now funneled
FirstEnergy payments in furtherance of the conspiracy. The Enterprise primarily used
the PAC during the May 2018 primary as a way to conceal the source of media buys for
Team Householder candidates. The attorney who is listed as the treasurer for
Generation Now and who is a signor on the Generation Now accounts along with
Longstreth, is the treasurer and a signor of the PAC account.
          c.          Although Longstreth was not a signor on the PAC bank account,
documents obtained by the FBI confirm Longstreth’s control over the PAC. For
example, a Word document titled “Client Information Request Form”, last modified by
Longstreth in October 2016, listed Longstreth as the “Executive Director or President” of
the PAC. In addition, Longstreth’s resume, created by Longstreth in November 2016,
states that Longstreth oversees political activities for the PAC. Contribution forms for
the PAC list Longstreth as the “Contact” and include Longstreth’s email and phone
number. Toll records corroborate Longstreth’s role, showing frequent contact with the
attorney when Generation Now needed to move money to and from PAC.

         d.         In early 2018, the PAC bank account was funded almost entirely by
a $250,000 wire and a $750,000 wire from Generation Now, on April 2 and April 12,
2018, respectively. By April 30, 2018, nearly all of the million dollars was paid to two
media services firms, which spent the money on media buys and other efforts to benefit
Householder candidates, including Householder himself, in advance of the May 8, 2018
Ohio primary election.

          e.        The account was unused until Generation Now wired an additional
$50,000 to the account in September 2018, in advance of the fall 2018 election. Close
to $40,000 of that wire was paid to a political strategy group within weeks of the wire.
Aside from payments to the attorney’s law firm, the balance remained in the account.

         f.        The account remained largely inactive from October 2018 until
January-February 2020, when the Enterprise wired $1,010,000 of money from
Defendants to the “Coalition”, (described below), which passed through to PAC roughly
the same amount of money over the next two months. Expenditures from the PAC in

                                           17
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 18 of 34 PAGEID #: 18




FEC filings, along with media purchased by PAC, show that the Enterprise used the
Defendants’ money funneled to the PAC to benefit Team Householder candidates for
the 2020 primary election.

           g.       “Coalition” is another 501(c)(4) non-profit entity for which the
attorney who is treasurer and signor for the PAC is the signor on the Coalition’s bank
account. The attorney incorporated the Coalition in Delaware one day after he
incorporated PAC. Longstreth’s resume states that he oversees political activities for
the Coalition. An FBI investigation indicated that Longstreth possessed a copy of the
W-9 taxpayer identification form for the Coalition. He also saved Word documents
characterized as “scripts” to use when soliciting money from donors to the Coalition.

           h.         For calendar years 2017 through 2019, the Coalition was funded
almost exclusively through: A) $90,000 from First Energy, B) $300,000 from “Energy
Pass-Through” (a FirstEnergy Corp. pass-through, as set forth below), and C) $200,000
from an interest group that was funded exclusively by $13 million from another energy
company that supported HB 6 and separately paid $150,000 to Generation Now during
the relevant period. Outgoing payments from the Coalition account were over $100,000
in two wires to JPL & Associates; $54,000 wired to Generation Now; $191,000 wired to
Media Placement Company 1; and $200,000 wired to a public relations firm.
           i.         The Coalition account was largely unused from August 2018 until
January 2020 when, as described directly above, the Enterprise used the Coalition as a
pass-through for FirstEnergy Corp.-to-Generation-Now money to PAC, which the
Enterprise then used to support Householder-backed candidates in the 2020 primary
election. The benefit of passing the money through the Coalition first, was that the PAC
listed the Coalition as the source of the $1,010,000 million in FEC filings, not Generation
Now. The Enterprise sought to conceal Generation Now as the source of PAC funds in
2020 for numerous reasons, including, as explained herein and in the Affidavit,
Generation Now had generated negative media publicity in 2019 and candidates
expressed concern to Householder about their association with it.

         j.         Thus, this account is a mechanism for Generation Now to spend
secret money for the benefit of Householder and the Enterprise.

          k.       “Dark Money Group 1” is an entity used by the Enterprise to
conceal the source of media buys during the 2018 general election, similar to the way
the Enterprise used PAC for the primaries in 2018 and 2020. An Ohio lobbyist
incorporated Dark Money Group 1 in Ohio on September 21, 2018 and opened its bank
account on September 25, 2018.

           l.       The majority of activity in the account occurred roughly a month
later, between October 2018 and Election Day on November 6, 2018. From October 19
to October 29, 2018, Generation Now wired $670,000 into the account; FirstEnergy
Corp. wired $500,000 into the account; and other corporate interests wire $300,000 into
the account, totaling $1,470,000. From October 22 to November 2, 2018, Media
Placement Company 2 then spent $1,438,510 on media buys for ads paid for by Dark

                                            18
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 19 of 34 PAGEID #: 19




Money Group 1 that generally targeted rivals of candidates aligned with Householder.
Since Election Day in 2018, the account has been largely unused.

            m.       “Front Company” is a pass-through entity used by the Enterprise to
fund the campaign against the referendum in furtherance of the conspiracy. The for-
profit entity was organized in Ohio on July 30, 2019, just days after the Ballot Campaign
to overturn HB 6 began.

           n.       From August 1, 2019 through October 2019, FirstEnergy Corp.
controlled accounts wired Generation Now $38 million; Generation Now then wired $23
million from those payments to Front Company, the vast majority of which was used to
pay signature collection firms to fight against the Ballot Campaign and to pay for media
opposing the Ballot Campaign. Generation Now as the sole source of money deposited
into the Front Company account. By November 2019, less than $5,000 remained in the
Front Company account.

     THE USE OF GENERATION NOW TO RECEIVE BRIBE PAYMENTS FROM
                            DEFENDANTS

      35.    On or about February 6, 2017, Generation Now, Inc. was incorporated in

Delaware, and two bank accounts were opened at Fifth Third Bank (x3310 and x6847).

Bank records show that an attorney and Jeff Longstreth were signatories on both

accounts.   On or about July 26, 2017, Generation Now registered with the Ohio

Secretary of State as a foreign nonprofit corporation “organized exclusively for the

promotion of social welfare and economic development purposes within the meaning of

Section 501(c)(4) of the Internal Revenue Code (“the Code”), or the corresponding

section of any future federal tax code.” The attorney signed the application as the

treasurer of Generation Now.

      36.    Although Householder was not listed on registration documents or in

account records for Generation Now, the Enterprise used Generation Now to receive

secret payments for Householder.

      37.    At the time, there was aggressive lobbying for legislative action to save

FirstEnergy Corp.’s two nuclear power plants.      Table One, in paragraph 47 of the

                                           19
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 20 of 34 PAGEID #: 20




Affidavit in United States of America v. Larry Householder, et al., in the United States

District Court for the Southern District of Ohio, Case No. 1:20-mj-00525 (Doc #5,

PageID# 106-107), lists each of Defendants’ payments received by Generation Now

during the period from March 2017 until March 2020, totaling $59,996.835.86.

       38.    In addition to the $59,996.835.86 that FirstEnergy Corp. paid directly to

Generation Now, FirstEnergy, made $890,000 in other timely payments to the

Enterprise, including: payments of $500,000 to Dark Money Group 1 and $90,000 to

Coalition, and an Energy Pass-Through payment of $300,000 to Coalition, all of which

are detailed in the Affidavit. These payments bring the total amount of direct payments

from Defendants to the Enterprise during the relevant period as $60,886,835.86. During

the time of the conspiracy, other entities besides Defendants deposited money into

Generation Now; the amounts of those deposits, however, are dwarfed by the

Defendants’ payments.

       39.    Although Householder’s name is not on Generation Now’s paperwork, an

FBI investigation concluded, based on Householder’s statements, Clark’s statements,

and a review of documentation obtained pursuant to search warrants and grand jury

subpoenas, that Householder controls Generation Now to further the Enterprise’s goals

(Affidavit, ¶ 50-65, Doc #5, PageID# 108-112).

       40.    FirstEnergy Corp. funded Householder’s Speakership bid in exchange for

a legislative fix for its nuclear power plants.

       41.    The volume of FirstEnergy Corp.’s payments, the timing of these

payments, communications and coordination amongst co-conspirators and FirstEnergy

Corp., the official action taken by Householder, and the actions to maintain the official



                                              20
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 21 of 34 PAGEID #: 21




action, show the corrupt arrangement of FirstEnergy Corp.’s funding of Householder’s

speakership bid in exchange for a legislative fix.

       42.    As described herein and in the Affidavit, the vehicle to collect the vast

amounts of money needed for Householder’s Speakership bid was Generation Now.

From the time the Generation Now bank accounts were opened in 2017 through

November 2018 general election, the Enterprise received approximately $4.6 million

into Generation Now. More than half of that money came from FirstEnergy Corp. or the

Energy Pass-Through, fully funded by FirstEnergy Corp. More than a half million of the

remaining money came from energy-related entities that either had a relationship with

FirstEnergy Corp. or an interest in the bailout legislation. The remaining amount of

money (approximately $1.6 million) came from approximately 31 other interest groups.

       43.    FirstEnergy Corp. made regular, quarterly payments of $250,000 into

Generation Now’s main bank account almost immediately after Longstreth opened it in

2017. But, in March 2018, approximately two weeks before FirstEnergy Corp. affiliates

filed for bankruptcy, FirstEnergy Corp. began funneling payments to Generation Now

through Energy Pass-Through. The payments wired from FirstEnergy Service Co. into

the Energy-Pass-Through originated from account x6496, the same account used to

wire payments directly from FirstEnergy Service Co into Generation Now. In the final

month before the 2018 general election, FirstEnergy Corp. dropped another $500,000

into the Generation Now account. This time the money was paid by check from account

x4788. The payments from FirstEnergy Corp. from 2017-2018 are summarized in ¶82

of the Affidavit to the Criminal Complaint in Case No. 1:20-MJ-00525 in the United

States District Court for the Southern District of Ohio (Doc #5 at PageID #117). Other



                                            21
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 22 of 34 PAGEID #: 22




payments are set forth in ¶83 of the same Affidavit. The close coordination between

defendants and Householder is set forth in ¶84-86 of the Affidavit (Doc# 5 at PageID#

117-119).

       44.     On or about July 24, 2018, a few months after the primaries, $215,000

was wired from Longstreth-controlled accounts to settle a personal lawsuit against

Householder. On August 1, 2018, the same day that Householder was meeting with

FirstEnergy Corp. executives in Columbus, according to documents in Cespedes’

possession, a court filing in Franklin County Court “released and forever discharged” the

judgment against Householder and Householder Ltd. The main JPL account was

funded with wire transfers from Generation Now, which was funded in large part by

FirstEnergy Corp. wires. In addition, bank records will show that JPL’s main account

also paid Householder’s attorneys involved in the lawsuit in May 2017 via two checks

totaling $60,000. At the time JPL made those payments, it had received more than

$78,000 from Generation Now, which had been funded in part by a $250,000 wire from

FirstEnergy Corp. and $200 deposit from Longstreth on the date he opened the

account. JPL also paid the same law firm additional fees totaling $25,308.43 in 2018.

                 BAILOUT LEGISLATION PASSED FOR DEFENDANTS

       45.     The Enterprise transitioned quickly to fulfilling its end of the corrupt

bargain with FirstEnergy Corp.-passing nuclear bailout legislation. In fact on January 7,

2019, the day he was elected Speaker, Householder pledged to create a standing

subcommittee on energy generation. Householder then followed through shortly after

his election as Speaker by passing the HB 6 legislation and defending the bill against

the ballot initiative challenge.



                                           22
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 23 of 34 PAGEID #: 23




       46.    The Enterprise's efforts to pass the legislation and preserve it against the

Ballot Campaign challenge were funded entirely by FirstEnergy Corp., through

payments to Generation Now. While HB 6 was pending in the House, FirstEnergy Corp.

wired Generation Now $9,500,000. When the bill was pending in the Senate,

FirstEnergy Corp. wired Generation Now $7,358,255. And, to fund its efforts to defeat

the Ballot Campaign, FirstEnergy Corp. wired an additional $38,000,000 to Generation

Now. The volume and frequency of these payments provide further evidence of the

Enterprise's corrupt arrangement with FirstEnergy Corp. These facts, including the

Enterprise's passage of HB 6, its efforts to defeat the subsequent Ballot Campaign, and

FirstEnergy Corp.’s involvement and coordination funding these efforts, are set forth

herein and in the Affidavit.

                                     HOUSE BILL 6

       47.    Consistent with their agreement, the Enterprise implemented a strategy to

pass a legislative fix for FirstEnergy Corp. shortly after Householder was selected

Speaker. The strategy involved ramming a sweeping piece of legislation – HB 6 –

through the House and pushing the Senate to agree. First, Householder picked

freshman representatives, which Householder helped elect by using FirstEnergy Corp.-

to-Generation-Now dollars for their benefit in the 2018 election, to sponsor the bill that

he helped draft. Second, Householder created a new subcommittee to hear the bill,

which was comprised mostly of Householder supporters. Third, the Enterprise engaged

in an expensive media blitz, funded by FirstEnergy Corp.-to-Generation-Now payments,

to pressure public officials to support the bill. Fourth, Householder strong-armed House

members, particularly opponents of the bill. Finally, Householder and the Enterprise


                                           23
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 24 of 34 PAGEID #: 24




pressured Senators to pass the legislation. The expediency and funding of this

legislative effort and the tactics used by the Enterprise-along with timely

communications between Enterprise members and agents of FirstEnergy Corp. are

further evidence of the agreement between Householder and FirstEnergy Corp.

      48.     On April 12, 2019, roughly three months after Householder became

Speaker, HB 6 was introduced. Although titled “Ohio Clean Air Program,” the FBI

investigation showed the HB 6 essentially was created to prevent the shutdown of

FirstEnergy Corp.’s nuclear plants as explained in ¶111-186 of the Affidavit.

      49.     HB 6 was important to the Householder Enterprise because it received

millions of dollars into Generations Now from FirstEnergy Corp. in exchange for

enactment of the bailout legislation. And, thus, the repeal of HB 6, which would prevent

HB 6 from taking effect in October 2019, was viewed as a threat to the Householder

Enterprise.

      50.     FirstEnergy Corp. and/or FirstEnergy Service Company funded and/or

participated in the funding of the Householder Enterprise to defeat the Ballot Campaign

to repeal HB 6 (Affidavit, ¶187-215, Doc #5, PageID# 153-162). The efforts to prevent

the repeal of HB 6 included bribing an employee of the Ballot Initiative for inside

information, and bribes to signature collectors (Affidavit, ¶216-239, Doc #5, PageID#

162-169).

      51.     The Enterprise worked closely with FirstEnergy Corp. to defeat the repeal

of HB 6. During this period, FirstEnergy Corp. paid the Enterprise over $38 million. As

an example, on October 10, 2019, FirstEnergy Company wired $10 million to Energy




                                           24
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 25 of 34 PAGEID #: 25




Pass-Through, which then wired $10 million to Generation Now (Affidavit, ¶240-242,

PageID# 169-170).

       52.    The efforts to prevent a repeal of HB 6 were successful. On October

212019, the Ballot Campaign failed to collect enough signatures and HB 6 went into

effect. Additional relevant wire transfers are set forth in the Affidavit, (Affidavit, ¶244-

247, Doc #5, PageID# 170).

       53.    The State of Ohio may well repeal and replace HB 6. But having hijacked

Ohio’s democracy and damaged Ohio’s trust of an elected government, Defendants are

not entitled to “keep the change” of their ill-gotten gains.

                               CLASS ACTION ALLEGATIONS

       54.    Plaintiff brings this action under Ohio Civ.R. 23(a); (b)(1)(A); (b)(2); and,

(b)(3), on behalf of himself and the other members of the Plaintiff Class defined as: All

persons and entities who have and/or will have to pay a monthly surcharge for electric

pursuant to HB 6.

       55.    Based on information and belief, the members of the Class exceed tens of

thousands in number, making joinder of all Class members impracticable.

       56.    The claims set forth in this Complaint are common to each member of the

Plaintiff Class. The Plaintiff and each Class member are subject to the same rate

increases set forth in HB 6.

       57.    There are questions of law and/or fact common to the Class which

predominate over any questions effecting individual members of the Class.            These

include: (a) whether Defendants bribed the members of the Householder Enterprise to

obtain bailout nuclear power plant legislation, HB 6; (b) whether the conduct set forth in



                                              25
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 26 of 34 PAGEID #: 26




this Complaint violated the Racketeer Influenced and Corrupt Organizations Act; (c)

whether the Class members are entitled to actual damages, punitive damages, statutory

damages, or both; and (d) whether Defendants’ conduct entitles the Class to recovery of

attorneys’ fees and expenses.

       58.    The Plaintiff is an adequate representative of the Class members

because: i) he is a member of the Class; ii) the claims he asserts in the Complaint are

typical of the claims of the Class members; iii) Plaintiff’s claims are not subject to any

unique defenses, and, iv) Plaintiff’s interests do not conflict with those of any other

Class member.

       59.    The named Plaintiff will fairly and adequately protect the interests of the

Class. None of the Plaintiff’s interests conflict with any interest of the Class.

       60.    The claims set forth herein are proper for certification as a class action

under the provisions of Rule 23 of the Ohio Rules of Civil Procedure.

       61.    After addressing the questions common to the Class, only the

determination of individual damages will remain, and that calculation is one of simple

mathematics using records of the Defendants.

       62.    This class action is superior to other available methods for the fair and

efficient adjudication of the claims asserted herein because there are tens of thousands

of members in the proposed Class and repeated individual discovery and litigation of

the common issues shared by all Class members would needlessly waste judicial

resources. The names and addresses of Class members will be readily identifiable from

records of Defendants and through discovery of this action.




                                             26
 Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 27 of 34 PAGEID #: 27




        63.    The Class members’ interests in individually controlling the prosecution of

separate actions do not outweigh the benefits of class-based litigation on those issues.

        64.    It is desirable to concentrate the litigation of these claims in one forum.

Any difficulty in managing this case as a class action is outweighed by the immense

benefits the class action has in efficiently disposing of common issues of law and fact

among the large number of litigants. Moreover, no Class member has enough at stake

to warrant individual litigation against these obviously well-funded and ruthless

defendants.

        65.    The prosecution of this civil action by all Class members individually in

separate actions would create a risk of inconsistent or varying adjudications of claims by

the individual Class members that would establish incompatible standards of conduct

for Defendants, could be dispositive of interests of other Class members not parties to

the adjudications, or substantially impair or impede Class members ability to protect

their interests.

        66.    Upon information and belief, there are no other similar cases pending

against the named Defendants which address the issues as are raised in this case.

        67.    Furthermore, Plaintiff has retained competent counsel experienced in

class action litigation to further insure such representation and protection of the Class.

To prosecute this case, the prospective Class Representative has chosen the law firm

of Murray and Murray Co., L.P.A. of Sandusky, Ohio. Plaintiff and his counsel intend to

vigorously prosecute this action.

        68.    Managing this case as a Class Action should not present any particular

difficulty.



                                            27
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 28 of 34 PAGEID #: 28




                 CIVIL FEDERAL RICO AGAINST ALL DEFENDANTS
                            (28 U.S.C. § 1962(c) & (d))

       69.    Plaintiff realleges and incorporates every allegation contained in each of

the preceding paragraphs as if fully set forth herein.

       70.    Plaintiff is a natural person, and as such is a “person” within the meaning

of 18 U.S.C. § 1961(3).

       71.    Defendants are corporate entities, and as such are “persons” within the

meaning of 18 U.S.C. § 1961(3).

       72.    Defendants conspired with Larry Householder, Jeffrey Longstreth, Neil

Clark, Matthew Borges, Juan Cespedes, and Generation Now, to participate, directly or

indirectly, in the conduct of an enterprises affairs through a pattern of racketeering

activity, in violation of 18 U.S.C. 1962(c) – a civil RICO claim.               Plaintiff states

Defendants’ wrongful conduct may also fall under other subsections of 18 U.S.C. §

1962 other than (c).

       73.    The Defendants comprise a distinct group of persons separate from the

Enterprise within the meaning of 18 U.S.C. § 1961(4).           However, each and every

Defendant is associated with the Enterprise. The entities that constitute the Defendants

together with Larry Householder, Jeffrey Longstreth, Neil Clark, Matthew Borges, Juan

Cespedes, and Generation Now, are an association-in-fact within the meaning of 18

U.S.C. § 1961(4). The Householder Enterprise is separate from Defendants as the

liable “persons”, participating in the affairs of the Householder Enterprise.

       74.    The purpose of the Enterprise and/or Enterprises (collectively “Enterprise”)

was to secure legislation favorable to Defendants through the use of bribes paid by

Defendants to the members of the Householder Enterprise and/or others. How this was

                                             28
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 29 of 34 PAGEID #: 29




accomplished is set forth in this Complaint, and the Affidavit attached to the Criminal

Complaint in United States of America v. Larry Householder, et al., in the United States

District Court for the Southern District of Ohio, Case No. 1:20-mj-00525.

       75.    The Enterprise has been engaged in, since approximately 2017, and

continues to be engaged in, activities that affect interstate commerce. Defendants’

unlawful Enterprise in violation of RICO has been and remains longstanding, continuous

and open ended. Defendants engaged in a pattern of Racketeering Activity described

in the Affidavit attached to the Criminal Complaint in United States of America v. Larry

Householder, et al., in the United States District Court for the Southern District of Ohio,

Case No. 1:20-mj-00525. This Affidavit and this Complaint describes multiple predicate

acts of racketeering activity including, but not limited to, the numerous/extensive use of

the mails and/or wires on different dates, to bribe Householder and/or others to pass

nuclear plant bailout legislation (HB 6), defeat the Ballot Campaign (anti-HB6

referendum effort), and expand Householder’s power to enable HB 6 to be passed and

the Ballot Campaign defeated..

       PATTERN OF RACKETEERING ACTIVITY – MAIL AND WIRE FRAUD

       76.    Defendants, individually and collectively, as an Enterprise and/or in

conjunction with and/or coordinated with the members of the Householder Enterprise,

have engaged, directly or indirectly, in a pattern of racketeering activity, as described

below, in violation of 18 U.S.C. § 1962(c) and (d).

       77.    Defendants, acting individually and/or as part of the Enterprise, devised a

scheme to obtain legislation and prevent the repeal of legislation by means of false or

fraudulent pretenses and representations, and through the payment of bribes.



                                            29
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 30 of 34 PAGEID #: 30




       78.    Defendants, acting individually and/or as part of an Enterprise, have used

the mails and wires and have caused the mails and wires to be used, or reasonably

knew the mails and wires would be used, in furtherance of their fraudulent scheme(s)

and the payment of bribes in return for the passage of nuclear plant bailout legislation

(HB6) and to prevent its repeal.

       79.    Defendants have used the mails and wires in connection with the payment

of bribes for the passage of bailout legislation (the passage of HB 6), fraudulently

obtained, and through the use of the mails and wires which has furthered this illegal

scheme and enabled Defendants to take money and property from Plaintiff and putative

class members by means of false pretenses and representations and the payment of

bribes, to obtain the passage of bailout legislation (HB 6) and preventing its repeal.

       80.    On information and belief, each and every Defendant has specific

knowledge that the mails and wires are/were being utilized in furtherance of the overall

purpose of executing the illegal scheme, and/or it was reasonably foreseeable that the

mails and wires would be so used.

       81.    Each of the mails and wires in connection with Defendants’ schemes,

spanning a period from 2017 to the present, constitutes a separate instance of mail

and/or wire fraud within the meaning of 18 U.S.C. §1341 and 1343, and thus is also a

predicate act, which taken together, constitute “a pattern of racketeering activity” within

the meaning of 18 U.S.C. §§ 1961 and 1962. Other predicate acts, including payment

of bribes for the passage of HB6 and the payment of bribes to prevent its repeal are set

forth in this Complaint and the Affidavit attached to the criminal Complaint in United

States of America v. Larry Householder, et al., Case No. 1:20-mj-00525, in the United



                                            30
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 31 of 34 PAGEID #: 31




States District Court for the Southern District of Ohio, incorporated into this Complaint

by reference.

       82.      In connection with Defendants’ scheme, the acts of racketeering activity

have occurred after the effective date of the RICO statute, 18 U.S.C. § 1961 et seq.,

and on countless occasions over a substantial time period within ten years of each

other. The acts of racketeering were an ongoing part of Defendants’ regular way of

doing business. The predicate acts were repeated over and over again.

  RELATIONSHIP OF PATTERN OF RACKETEERING ACTIVITY TO ENTERPRISE

       83.      As described, the goal of Defendants’ Enterprise was to obtain the

passage of HB 6 through fraudulent, illegal means, through the payment of bribes to

extract money and property from Plaintiff and putative class members by requiring them

to pay a surcharge on their electric utility bills.

       84.      The pattern of racketeering activity described above was integral to

Defendants’ scheme. Without engaging in mail and wire fraud, and the payment of

bribes, Defendants would be unable to obtain passage of HB 6.

       85.      Each Defendant, individually and/or as a member of an Enterprise, has

conducted or participated, directly or indirectly, in the conduct of an Enterprise’s affairs

through the pattern of racketeering activity previously described. Accordingly, each

Defendant has violated 18 U.S.C. § 1962(c).

       86.      Moreover, each Defendant has knowingly agreed and conspired to violate

the provisions of 18 U.S.C. § 1962(c), including the numerous predicate acts of mail,

wire fraud, and the payment of bribes described above, and has thus violated 18 U.S.C.

§ 1962(d).



                                               31
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 32 of 34 PAGEID #: 32




       87.    As a direct and proximate result of the RICO violations described in this

Complaint, Plaintiff and putative class members have suffered substantial injuries.

Plaintiff and putative class members have and/or will pay monthly surcharges that range

from 85 cents per month for residential customers to $2,400 per month for commercial

customers operating large industrial plants, thus constituting an injury to Plaintiff’s

property within the meaning of 18 U.S.C. § 1964, by the actions of Defendants and their

co-conspirators in violation of 18 U.S.C. § 1962(c) and (d).

       88.    Defendants’ bribery scheme supports a claim for honest services fraud.

The Defendant payors provided benefits/bribes to public officials intending the public

officials would take favorable official acts that the public officials would not otherwise

take – a quid pro quo. The bribes were specifically for the passage of HB 6 and to

prevent its repeal.

       89.    Defendants also entered into a straw-donor scheme, including payments

to and by Generation Now, which were used for the payment and concealment of the

payment of bribes to pass HB 6 and prevent its repeal. This scheme was intended to

deprive Plaintiff and class members of money or property – HB6’s surcharges on

electric utility customers/ratepayers.

       90.    Defendants’ conduct has involved and continues to pose a threat of long

term criminality since it is believed to have commenced as long ago as 2017 and has

continued.   The pattern of racketeering activity has been directed towards tens of

thousands, if not hundreds of thousands of persons, including Plaintiff and the Class

members, and the pattern has spanned for many years.




                                            32
Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 33 of 34 PAGEID #: 33




       91.    The facts establish that Defendants are part of, or associated with the

Householder Enterprise, which is an association-in-fact enterprise affecting interstate

commerce, and the Defendants conspired with others to commit a pattern of

racketeering activity. The Defendants enriched themselves by the bailout legislation

passage by engaging in a scheme to defraud the public of the honest services of

Householder and other legislators, involving the receipt of millions of dollars in secret

bribe payments through Householder’s 501(c)(4) account in return for Householder

taking official action to help pass a legislative bailout for Defendants’ two nuclear power

plants; bribing and attempting to bribe individuals working on behalf of the Ballot

Campaign in an attempt to receive inside information and defeat the Ballot Campaign;

and concealing the scheme, their illegal activity, and the source of the funds by

transferring Defendants-to-Generation-Now payments through other controlled entities

and knowingly engaging in monetary transactions with the proceeds.

        92.    For violations of 18 U.S.C. § 1962 described in this Complaint, Plaintiff is

entitled to recover compensatory and treble damages in an amount to be determined at

trial, and to a prospective order directing Defendants to disgorge their ill-gotten gains in

order to deter them from engaging in similar conduct in the future.

                               DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury for all claims in this Complaint so triable.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the other members of the

Class proposed in this Complaint, respectfully requests that the Court enter judgment in

their favor and against all Defendants, as follows:



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Case: 2:20-cv-03755-EAS-KAJ Doc #: 1 Filed: 07/27/20 Page: 34 of 34 PAGEID #: 34




     A. Declaring that this action is a proper class action, certifying the Class
        as requested herein, designating Plaintiff as Class Representative, and
        appointing the undersigned counsel as Class Counsel for the Class;

     B. Ordering Defendants to pay actual damages to Plaintiff and the other
        members of the Class;

     C. Ordering Defendants to pay treble damages, as allowable by law, to
        Plaintiff and the other members of the Class;

     D. Ordering Defendants to pay statutory damages, as provided by law;

     E. Ordering Defendants to pay attorneys’ fees and litigation costs to
        Plaintiff and other members of the Class;

     F. Ordering Defendants to pay both pre and post-judgment interest on
        any amounts awarded; and

     G. Ordering such other and further relief as may be just and proper.


                                                Respectfully submitted,

                                                s/ Dennis E. Murray, Jr.
                                                Dennis E. Murray, Jr. (0038509)
                                                Margaret M. Murray (0066633)
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                                                Attorneys for Plaintiff


                                    JURY DEMAND

     Plaintiff hereby demands a trial by jury on all triable issues.


                                                s/ Dennis E. Murray, Jr.
                                                Dennis E. Murray, Jr. (0038509)
                                                MURRAY & MURRAY CO., L.P.A.
                                                Attorneys for Plaintiff



                                           34
